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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


 JENS H.S. NYGAARD

              Plaintiff,

        v.

 FÉDÉRATION INTERNATIONALE DE                         Case No. 6:20-cv-00234-ADA
 L’AUTOMOBILE, FORMULA ONE
 MANAGEMENT LTD., FORMULA ONE                         JURY TRIAL DEMANDED
 WORLD CHAMPIONSHIP, MERCEDES-
 BENZ GRAND PRIX LTD., DAIMLER AG,
 LEWIS HAMILTON, RED BULL
 TECHNOLOGY LTD., RED BULL
 RACING LTD., FERRARI S.P.A.,
 CHARLES LECLERC, AND DALLARA
 AUTOMOBILI S.P.A.

              Defendants.

                         JOINT REPORT REGARDING
                 NARROWING OF ASSERTED CLAIMS AND PRIOR ART

        Pursuant to the Court’s Order Governing Proceedings (Dkt. No. 110), the parties met and

conferred on and following March 7, 2022 regarding case narrowing, and respectfully submit the

following report:

        Plaintiff asserts three claims (1, 2, and 4). Defendants requested that Plaintiff drop one of

claims 1 or 4 as redundant and other aspects of its claims, including its doctrine of equivalents

theory and Section 271(f) claims. Plaintiff, however, stated that it intends to present all three claims

at trial and declined to narrow any of its theories. Claims 1 and 4 cover legally distinct use cases

but otherwise have generally similar limitations, and thus Plaintiff expects to present substantially

identical proofs for these claims at trial as it has in its expert reports.
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       Defendants’ invalidity expert report presented 12 prior art references in 31 unique grounds

(i.e., references or combinations of references). During the meet and confer process Defendants

agreed to narrow their invalidity case to a maximum of 13 unique grounds, but Defendants have

not yet finalized the specific grounds they will carry forward. Defendants will file a supplemental

status report no later than March 25, 2022 identifying the narrowed set of grounds.



Dated: March 14, 2022                        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


       I certify that a correct copy of the foregoing was filed with the Clerk of the Court via the
CM/ECF filing system on the 14th day of March, 2022, who will in turn provide notification of
same to all counsel of record.



                                                      /s/ Danielle J. Healey
                                                      Danielle J. Healey
